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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
               v.                              :      Case No. 22-cr-15 (APM)
                                               :
ELMER STEWART RHODES III,                      :
KELLY MEGGS,                                   :
KENNETH HARRELSON,                             :
JESSICA WATKINS, and                           :
THOMAS CALDWELL,                               :
                                               :
                       Defendants.             :

                    GOVERNMENT’S OPPOSITION TO DEFENDANTS’
                     MOTIONS FOR JUDGMENTS OF ACQUITTAL

       The United States respectfully opposes the motions for judgments of acquittal that have

been made by Defendants Elmer Stewart Rhodes III, Kelly Meggs, Kenneth Harrelson, Jessica

Watkins, and Thomas Caldwell. The evidence presented in the government’s case in chief has

established that in the days and weeks following the 2020 U.S. Presidential Election, the

defendants entered into an agreement to stop the lawful transfer of presidential power by any

means necessary, up to and including the use of force. On January 6, 2021, the defendants, along

with hundreds of other rioters, attacked the United States Capitol, delayed the certification of the

Electoral College vote, prevented Members of Congress from discharging their duties, and caused

more than $1,000 of damage to the building. In the weeks that followed, the defendants continued

to plot ways to forcibly oppose the transfer of presidential power, and they destroyed evidence of

their participation in the attack on the Capitol. The evidence adduced at trial in the government’s

case-in-chief, viewed in the light most favorable to the government, is more than sufficient to

permit a rational trier of fact to find the essential elements of the crimes charged in the Indictment
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with respect to each defendant beyond a reasonable doubt. Accordingly, defendants’ motions for

judgments of acquittal should be denied.

   I.      Background

        A. Procedural Background: Allegations in the Indictment

        All defendants stand charged with seditious conspiracy, in violation of 18 U.S.C. § 2384

(Count One); conspiracy to obstruct an official proceeding, in violation of 18 U.S.C. § 1512(k)

(Count Two); obstruction of an official proceeding and aiding and abetting, in violation of 18

U.S.C. §§ 1512(c)(2) and 2 (Count Three); and conspiracy to use force, intimidation, or threats to

prevent officers of the United States from discharging their duties, in violation of 18 U.S.C. § 372

(Count Four). ECF No. 167. Meggs, Watkins, and Harrelson are additionally charged with

destruction of government property and aiding and abetting, in violation of 18 U.S.C. §§ 1361 and

2 (Count Five), for damage to the East Rotunda Doors entrance area that they attempted and aided

and abetted as they breached the building. Id. The Indictment further charges Watkins with civil

disorder and aiding and abetting, in violation of 18 U.S.C. §§ 231(a)(3) and 2 (Count Six), for her

efforts to push past a line of riot police to gain access to the Senate Chamber. Id. Finally, Rhodes,

Meggs, Harrelson, and Caldwell are charged with tampering with documents or other objects and

aiding and abetting, in violation of 18 U.S.C. §§ 1512(c)(1) and 2 (Counts Seven through Nine

and Thirteen), for destroying digital evidence of their participation in the attack on the Capitol and

encouraging others to do so. Id.

        With respect to the conspiracy charges, the Indictment alleges that between November

2020 and January 2021, the defendants entered into an unlawful agreement “to oppose the lawful

transfer of presidential power by force, by opposing by force the authority of the Government of

the United States and by preventing, hindering, or delaying by force the execution of the laws




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governing the transfer of power, including the Twelfth and Twentieth Amendments to the

Constitution and Title 3, Section 15 of the United States Code.” ECF No. 167 at ¶ 16. The

Indictment further alleges that, between December 2020 through January 2021, the defendants

agreed “to corruptly obstruct, influence, and impede . . . the Certification of the Electoral College

vote,” id. at ¶ 136, and “to prevent by force, intimidation, and threat . . . . Members of Congress

from discharging [their] duties . . . and to induce [them] by force, intimidation, and threat . . . to

leave the place where their duties as officers were required to be performed,” id. at ¶ 140.

       B. Factual Background: Evidence Introduced to Support the Charges

               a. Evidence of the Conspiracy

       The evidence presented by the government has established that in the days after the

election, Rhodes proposed that he and other Oath Keepers members and affiliates forcibly oppose

the lawful transfer of presidential power from President Donald J. Trump to President Joseph R.

Biden, Jr. Meggs and Watkins were among the first to join in this agreement, as demonstrated by

their words and actions on November 9, and in the weeks that followed. As legal challenges to

the election sputtered, and President Trump gave no indication that he would invoke the

Insurrection Act to halt the certification of the election result, Rhodes and his co-defendants

explicitly discussed the need to use any means necessary, up to and including the use of force, to

oppose the transfer of power, and they began to focus on January 6 as a day of action for their

objective.   Then, on January 6, the defendants seized the opportunity to advance their

conspiratorial goal by participating in the attack on the Capitol. The statements and conduct of

Rhodes, Meggs, Harrelson, Watkins, and Caldwell in late December through January 6 illustrate

their agreement to oppose the lawful transfer of presidential power by force and to do so on January

6 by participating in the attack on the Capitol. And their conduct after January 6 demonstrates




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continued efforts to oppose by force the lawful transfer of power, evidencing their criminal intent

throughout the charged timeframe of the conspiracy. Finally, their coordinated campaign to delete

certain relevant evidence—in addition to being independently criminal—highlights their

consciousness of guilt.

                          i. After the Election through Mid-December

       In the days after the 2020 U.S. Presidential Election, Rhodes began disseminating messages

to Oath Keepers members and affiliates delegitimizing the results of the election and encouraging

message recipients to forcibly oppose the lawful transfer of presidential power from President

Trump to President Biden. On November 5, 2020, Rhodes told those on the “Leadership intel

sharing secured” chat (also known as the “OLD Leadership CHAT”), including Meggs, that they

“MUST refuse to accept Biden as a legitimate winner” and warned, “We aren’t getting through

this without a civil war. Too late for that. Prepare your mind, body, spirit.” Gov. Exh. 6615.A

(Msg. 1.S.696.12491). Two days later, on the same day that most major media outlets called the

election for President Biden, 10/4/22AM Tr. at 1435-36, Rhodes used the same secure Signal

group chat to urge message recipients to follow the example of Serbians who had achieved regime

change in their country by “[m]illions gather[ing] in [the] capital,” breaking through barricades,

and storming the legislature. Gov. Exh. 6615.B (Msgs. 1.S.696.12970-71, 12977). As early as

November 7, Rhodes was advocating for the use of force to oppose the authority of the

government, telling those on the leadership chat that “The answer must be to refuse to accept,

acknowledge, respect, or obey any of these imposters or their pretend legislation. .... and get your

gear squared away and ready to fight.” Gov. Exh. 6615.C (Msg. 1.S.696.13005); see also Gov.

Exh. 6615.C (Msg. 1.S.345.156 (“The final defense is us and our rifles.”)).




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       The weekend of November 7-8, 2020, Rhodes traveled to the Washington, D.C.

Metropolitan area with his “Oath Keepers tactical leaders for a possible DC op, to do a leaders

recon and make plans.” Gov. Exh. 6615.B (Msg. 1.S.345.58); see also Gov. Exh. 6923 (Msg.

1.S.376.388 (North Carolina Oath Keepers Leader “Ranger” Doug Smith: “Stewart and I are in

Virginia at a Stop the Steal campaign, these campaigns, will be springing up Nation wide, President

Trump will not step down, Oathkeepers will stand behind the President at every level State and

National,,, we will be bringing the battle to the enemy, Highly trained soldiers will be asked to

step forward and be prepared to travel to Washington DC, all others will support these operations

until we have secured our Constitution.”)). While there, Rhodes attended a rally at which he met

Caldwell. As Caldwell later described the meeting:

       We are going to win this election. I’m still praying. Was asked to be one of the
       speakers on Sunday. . . . Met some VERY interesting special operators there, some
       of whom are coming back in town this week for an op along the lines of what we
       discussed. Coming in numbers. You and Kenny should meet them. I am helping
       with intel and logistics. They are nation wide.

Gov. Exh. 6923 (Msg. 2006.T.1.296).

       On November 9, 2020, Rhodes held a private call on GoToMeeting—an online meeting

site that allows users to host conference calls and video conferences via the Internet—titled, “Oath

Keepers National Call – Members Only,” which was attended by Meggs and Watkins and other

co-conspirators. 10/4/22AM Tr. at 1442-81; Gov. Exhs. 1000.1 through 1000.11, 6611, 6615.D

(Msg. 1.S.696.13376). During the meeting, Rhodes outlined an objective to stop the lawful

transfer of presidential power, including by preparing for the use of force, and urged those listening

to participate. He told those on the call, “There’s no such thing as another election in this country

of any meaningful sense of the term if you let this stand,” Gov. Exh. 1000.1; “You’re from Oath

Keepers - you’ve got a responsibility and duty,” Gov. Exh. 1000.5; and “You’ve got to go there




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[to Washington, D.C.] and you’ve got to make sure he knows that you are willing to die to fight

for this country,” Gov. Exh. 1000.7. Rhodes stated his intent to organize an “armed QRF” or

“quick reaction force” outside the city to support operations inside. Gov. Exh. 1000.7. He stated,

“We’re very much in exactly the same spot that the founding fathers were in like March 1775.

Now—and Patrick Henry was right. Nothing left but to fight. And that’s true for us, too. We’re

not getting out of this without a fight.” Id. Rhodes also continued to reference a need to follow

the example of Serbians who engaged in a “color revolution” to oppose the transfer of power

following an election perceived as fraudulent in their country. Gov. Exh. 1000.8.

       West Virginia Oath Keeper Abdullah Rasheed was present on the call and recorded it

because, in his words, “the more I listened to the call, it sounded like we were going to war against

the United States government, and I wasn’t comfortable, so I started to record it.” 10/6/22PM Tr.

at 2024. To Rasheed, “It sounded like we were going to war with—we were going to overthrow

the United States government and start shooting everybody.” Id. at 2045. A couple of weeks after

the call, Rasheed began contacting the Federal Bureau of Investigation (“FBI”), the U.S. Capitol

Police, and several politicians to try to warn them about what Rhodes had said on the call. Id. at

2026-2027.

       Meggs and Watkins not only attended this November 9 GoToMeeting but also participated

at the end of the call in a discussion of what weapons could be brought lawfully into the city in

support of what Rhodes was proposing. Gov. Exhs. 1000.10-1000.11. Immediately after that

meeting, Meggs sent a message to an invitation-only Signal group chat titled, “OKFL Hangout”

(“OKFL Hangout Chat”), which included co-defendants and other co-conspirators, in which he

stated, “Anybody not on the call tonight. We have been issued a call to action for DC. This is the

moment we signed up for . . . .” Gov. Exh. 6616.B (Msg. 1.S.656.4143). Watkins also sent




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messages, during and after the meeting, that showed her intent to join the criminal agreement. See

Gov. Exh. 6617.B (Msg. 192.T.426 (To Rhodes: “Montana and I at your disposal. I’d like a

medical role personally.”)); (Msgs. 192.T.406, 408, 418-19 (“Stewart said it. Going to DC. Guys

outside DC with guns, awaiting orders to enter DC under permission from Trump, not a minute

sooner. We can have mace, tasers, or night sticks. QRF staged, armed, with our weapons, outside

the city. If it gets bad, they QRF to us with weapons for us.”)); (Msg. 192.T.409 (“We march on

D.C. on Saturday. This is the real for real shit. No weapons allowed, be prepared to fight hand to

hand. Want to come? It’s now or never time.”)); (Msg. 2003.T.250 (to co-conspirator Donovan

Crowl: “Be ready to march on D.C. on Saturday. Driving out Friday night. Hooah? This is what

we’ve been waiting for. It’s not just an Oath keeper mission. Patriots everywhere. 3 Percenters

too. Let’s make history motherfucker.”)).

       The weekend after the November 9 GoToMeeting, Rhodes, Meggs, Watkins, and Caldwell

traveled to the Washington, D.C. Metropolitan area for an operation to coincide with the so-called

“Million MAGA March.” Caldwell hosted Oath Keepers members and affiliates at his Virginia

residence, including Watkins and two members of her team from Ohio, as well as North Carolina

leaders Doug Smith and Paul Stamey, and others from their state such as North Carolina Oath

Keeper John Zimmerman. 10/16/2022AM Tr. 1891-96. According to Zimmerman’s testimony,

Rhodes visited Caldwell’s property the evening of Friday, November 13, to address those gathered

there. Id. at 1896-98. Among other things, Rhodes told the group they needed to be prepared to

take up arms if President Trump invoked a law called “the Insurrection Act” and called up groups

like the Oath Keepers to help him oppose the “rogue government” or those in Congress who had

gone rogue. Id. at 1900-02, 1909. Late that night, Caldwell told a friend:

       Sure wish you were coming along tomorrow. If we cannot get the President another
       term, we are well and truly fucked. If we don’t start mowing down masses of these



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       shitballs they will come for all of us. Its kill or be killed I am afraid. I don’t want
       to live in a communist country. I kinda hope there is some shit tomorrow in some
       ways just so we can get ON with it!

Gov. Exh. 6923 (Msg. 2006.T.1.335).

       On November 14, Zimmerman volunteered his van to serve as the “QRF” that would be

prepared to ferry weapons to those inside the city should the President invoke the Insurrection Act.

10/16/2022AM Tr. 1900-02, 1909. On the morning of November 14, those gathered at Caldwell’s

property deposited approximately 10-15 long guns and 6 pistols into the back of Zimmerman’s

van. Id. at 1903. Zimmerman and three other North Carolina Oath Keepers, including Paul

Stamey, then spent the day at Arlington Cemetery on standby in the event the QRF was activated.

Id. at 1903-07. Zimmerman explained that Oath Keeper members and affiliates communicated

that day on a Zello channel that Watkins had set up the night before. Id. at 1916-17. Ultimately,

the QRF was not activated that day, and everyone gathered back up that evening at Caldwell’s

residence. Id. at 1919.

       The November 14 event forged bonds among some of the individuals who later became

integral members of this conspiracy, such as Caldwell, Watkins, and co-conspirators Donovan

Crowl and Paul Stamey. As Caldwell wrote to Stamey in a Signal message on the evening of

Sunday, November 15, “Let the word go out from this time and this place: you have true friends

in Virginia! It was an honor to invest time in a new relationship with a patriot. I love me some

Marine! I WILL see you again!” Gov. Exh. 6619 (Msgs. 22.S.456.A-22.S.458.B). Similarly,

Crowl texted Caldwell, “I truly treasure your Friendship. Brother. War is on the Horizon. Until

We go to ground...Semper Fidelis.” Gov. Exh. 6825.2 (Msg. 22.T.14.14). Caldwell told Crowl

the very next night, “I am already working on the next D.C. op.” Gov. Exh. 6825.2 (Msg.

22.T.14.20/3).




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       Following the November event, Watkins stepped up her efforts to recruit others to the

cause. As she told Donovan Crowl, she joined Parler because she was “[t]rying to recruit.” Gov.

Exh. 6825.9 (Msg. 2003.T.267). Watkins told one recruit she should get comfortable with the idea

of dying for her country to oppose the incoming Biden Administration, because, “[I]f Biden get

the steal, none of us have a chance in my mind. We already have our neck in the noose. They just

haven’t kicked the chair yet.” Gov. Exh. 6825.8 (Msgs. 192.T.984, 987-99, 996).

       Meggs, too, recruited others to the conspiracy during this time period. On the OKFL

Hangout chat, Meggs applauded new, young members like co-conspirator Caleb Berry, calling

him “Patriot” and saying things like, “Well thank you for stepping up !! That sir makes you a

badass !” Gov. Exh. 6860 (Msg. 1.S.656.5363). Meggs also continued to prepare for firearms

training for his group. On November 27, Meggs purchased a firearms training class advertised as

“private training for up to five people” from a company called Combat Art Training at which he,

Harrelson, and other co-conspirators had previously taken classes, including a “Rifleman I” class

that “teaches you how to gunfight at close distance with a rifle in a fast and effective manner.”

Gov. Exh. 4800.1, 4801.5, 4805.1, 4807.4. Around this same time, Meggs wrote to the “OKFL

Hangout” Signal group chat, “Like we were told on the call the other night , training is coming if

all kinds. Let’s just all commit to get involved. Even as instructors like You Cape !! Get involved

in it and help train people locally. We need everyone to work together and train each other.” Gov.

Exh. 6860 (Msg. 1.S.656.5132).

       In early December, Harrelson switched from using his real name to the moniker “Gator 6”

on the GoToMeeting application. Gov. Exh. 6850. He also became an organizer rather than just

an attendee of these meetings, organizing about a dozen Florida Oath Keeper virtual meetings in




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December through early January, including recurring “warrior Wednesday with gator 6” and “oath

keepers friday night free for all” meetings. Id.

       Around this time, Caldwell was also making efforts to arm himself and prepare to use force

to oppose the transfer of power. On November 21, Caldwell purchased a gun disguised to look

like a cell phone from an online retailer. Gov. Exh. 2867.1. On December 4, Caldwell wrote

Crowl, “Ranger is thinking we should hold off on an op surrounding the maga march and plan for

the NEXT op which may be much larger and involve supporting the President directly and taking

our country back. That would be our last chance to save the country and may be quite violent.”

Gov. Exh. 6825.3 (Msg. 200.F.1.1). On December 23, after Caldwell and other co-conspirators

began discussing traveling to Washington, D.C., for January 6, Caldwell followed up on the cell

phone gun order, writing to the seller, “I am eager to receive this weapon.”

                       ii. Mid-December through Early January

       Beginning in mid-December 2020, Rhodes and his co-defendants began to call more

directly for the use of force to oppose the transfer of power—regardless of the President’s

direction—and to focus on the Certification proceeding set to take place on January 6, 2021 as a

day of action to advance their criminal objective.

                               1. Focus on Force to Oppose the Government and January 6, 2021

       As early as December 10, Rhodes began expressing in private circles his skepticism that

the President would invoke the Insurrection Act and his belief that he and other Oath Keepers

members and affiliates would need to take matters into their own hands. In a message to Kellye

SoRelle and two other acquaintances, Rhodes wrote, “[E]ither Trump gets off his ass and uses the

insurrection Act to defeat the ChiCom puppet coup, or we will have to rise up in insurrection




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(rebellion) Against the ChiCom puppet Biden. Take your pick.”              Gov. Exh. 6748 (Msg.

1.T.2186.50).

       On December 14, the day that the Electors of the Electoral College met in their respective

states and cast votes that resulted in the necessary number for President Biden to be elected,

Rhodes told co-conspirators on the OLD Leadership CHAT, “Trump has one last chance to act.

He must use the insurrection act. Unless we fight a bloody civil war/revolution.” Gov. Exh. 6701

(Msgs. 1.S.696.15779, 15784). That same day, Rhodes posted similar messages in the various

Signal group chats. See, e.g., Gov. Exh. 6803.2 (Msg. 1.S.233.1513 (To GA OK General Chat: “If

he doesn’t use the Insurrection Act to keep a ChiCom puppet out of the White House, then we will

have to fight a bloody revolution/ civil war to defeat the traitors.”)).

       A week later, President Trump still had not invoked the Insurrection Act, and Rhodes began

to prime his co-conspirators to act—with or without the President’s orders. On December 21,

Rhodes wrote to the OKFL Hangout chat:

       We need to push Tump to do his duty. If he doesn’t, we will do ours.
       Declare Independence.
       Defy
       Resist
       Defend
       Conquer or Die
       This needs to be our attitude.

Gov. Exh. 5310 (Msg. 1.S.656.9254).

       According to the testimony of co-conspirators who read and heard these words in real time,

this was not mere rhetoric. To Florida Oath Keeper and co-conspirator Jason Dolan, that message

meant that “we saw ourselves as patriotic Americans, [were] willing to fight back against an

illegitimate government and—and support what we saw as the rightful President against an




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illegitimate President.” 10/18/22PM Tr. at 4099. Asked how the group would fight to support

President Trump against the illegitimate government, Dolan explained:

       Any way we could. I believe at this point we were preparing for a trip to D.C. I’m
       not sure of the exact date. But if need be, then to—to take up arms and fight back,
       because that’s—that’s what we have been talking about. That’s—we may not have
       exactly been saying it, but that was the tenor; we have to fight back. We have to
       fight back. And—and it was—it was a feeling like our country or—was slipping
       out of our fingers and we needed to defend our country. Conquer or die.

Id.

       Accordingly, the co-conspirators began to make plans for January 6. On December 20,

Joshua James, the Alabama Oath Keeper who later led one group of co-conspirators into the

Capitol on January 6, messaged the OLD Leadership CHAT, “SE Region is creating a

NATIONAL CALL TO ACTION FOR DC JAN 6TH.... 4 states are mobilizing.” Gov. Exh.

6803.3 (Msg. 1.S.696.16531). That same day, Caldwell posted a message in response to a

Facebook friend’s retweet of a President Trump tweet with the comment “@realDonaldTrump.

We’ve got your back 100%!! #fightfortrump.” In his message, Caldwell stated, “Yeah, but what

are WE supposed to do? Tell me who to shoot first and I’m all in!” Gov. Exh. 6923 (Msg.

2001.T.54.2). Two days later, Caldwell sent a Signal message to Doug Smith stating:

       Spoke with Paul last night. I will be at the march on the 6th. I have booked a hotel
       room in arlington. We do not yet know what may go down but this room gives us
       a spot to stage materials should things go high order. 10 minutes from the potomac.
       Sharon and I will be there 5th and 6th. Wanted you to know this for contingency
       planning. Close hold you and Paul only for now, pls.

Id. (Msg. 22.S.553.A).

       On December 22, the day he was named State lead of Florida, Gov. Exh. 6868 (Msg.

2000.T.1070), Meggs told those on the OKFL Hangout chat: “It’s easy to chat here. The real

question is who’s willing to DIE , that’s what the Patriots did by the thousands . We are worried

about getting the day off.” Gov. Exh. 6860 (Msg. 1.656.9322). The following day, Meggs



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continued, “We need to surround the Capitol all the way around with Patriots screaming so they

hear us inside ! Scare the hell out of them with about a million surrounding them should do the

trick !” Id. (Msg. 1.S.656.9619). He then posted a photograph of Oath Keepers flags and wrote,

“These will be flying Jan 6th in front of the Capitol !!” Id. (Msg. 1.S.656.9620). On December

24, Meggs wrote to the same chat, “We have 10-12 staying there. So it’s gonna be a WILD time

in DC we gotta get the crowd going during the day. I think we get everyone up good and close to

the Capitol bldg so they can here is inside. Then at night well whatever happens happens .” Id.

(Msg. 1.S.656.9990).

       On December 23, Rhodes published an open letter on the Oath Keepers website in which

he noted that, on January 6, 2021, “tens of thousands of patriot Americans, both veterans and non-

veterans, will already be in Washington D.C., and many of us will have our mission-critical gear

stowed nearby just outside D.C.” Gov. Exh. 1008. Rhodes warned in the open letter that if the

President failed to take action to stop the fraudulent election results from being certified, Rhodes

and others may have to “take to arms in defense of our God given liberty.” Id.

       These words prompted Michael Adams, the leader of the Florida chapter of Oath Keepers

prior to Kelly Meggs, to resign his position. Adams testified that these “letters indicated that if the

President—the current President, Trump at the time, did not declare the Insurrection Act—I don’t

know if I’m saying that properly—and call up the militias and stand this down, if—if he didn’t do

that, then we would have to do that. And I was concerned about who ‘we’ [was].” 10/6/22PM Tr.

at 2059. According to Adams, he did not want to be part of that “we.” Id. at 2059-60.

       Others did. On December 25, co-conspirator Graydon Young asked Stewart Rhodes on

the OKFL Hangout chat, “What’s your opinion on the likely outcome on 1/6 based on the current

situation and Trumps dithering?” Gov. Exh. 6860 (Msg. 1.S.656.10091). Rhodes responded:




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       He is being advised to wait till the 6th in reliance on Congress. His “legal advisors”
       are NOT actually advising him (not laying out all his actual options like a real staff
       member should, and then let him decide). They are instead acting ags if his only
       option is to hope Congress does the right thing - which is extremely unlikely. I’m
       working to get him to see other options and put them on the table. I think Congress
       will screw him over. The only chance we/he has is if we scare the shit out of them
       and convince them it will be torches and pitchforks time is they don’t do the right
       thing. But I don’t think they will listen.

Id. (Msg. 1.S.656.10094-95). Young then wrote, “That’s what i would have guessed... one damned

week left ... I’m going to DC but it feels like a fool’s errand based on current events.” Id. (Msg.

1.S.656.10095). Rhodes answered:

       It’s not a fools errand. It has benefits regardless of outcome and regardless of what
       we then do. Trump needs to know we support him in using the Insurrection Act.
       And that needs to be the message – If Congress rubber stamps an unconstitutional
       fraud, President Trump must defend the Constitution and we URGE him to use the
       Insurrection Act to do so. And we will support him with our boots on the ground
       nationwide and we will protect him, and assist him. He needs to know that to his
       bones. We need to make it clear. And we need to have that message echoing off
       every roof top from now till that day. Focus like a laser on it. And he needs to know
       that if he fails to act, then we will. He needs to understand that we will have no
       choice.

Gov. Exh. 6860 (Msg. 1.S.656.10101-02). To Young, Rhodes’s messages “regalvanized” him to

go to Washington, D.C. on January 6 and play a role in the “resistance” to President-elect Biden

from assuming power. Id. at 5766. The enemy, he testified, was “a corrupt element within the

government,” including “Congress and President Biden.” Id.

       Similarly, on December 29, Rhodes wrote to the OLD Leadership CHAT, which by now

included Watkins, “I think that part of him now understands that the Insurrection Act and warfare

- with him as Commander in Chief - is the only way that he can save our Republic. But he needs

to know that if he doesn’t do it, we will.” Gov. Exh. 6701 (Msg. 1.S.696.17485-86). Over the

course of the next week, Rhodes and his co-defendants made their arrangements to carry out this

objective.




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                             2. Logistical Plans for January 6, 2021

       In late December, Rhodes, Meggs, Watkins, Harrelson, and their co-conspirators created

and administered encrypted chats on Signal with titles like “DC OP: Jan 6 21” and “OK FL DC

OP Jan 6” for coordinating their plans for January 6. Rhodes described DC OP: Jan 6 21 as “THE

DC op thread for all leadership coming in, from multiple states, and together with the overall DC

op leadership.” Gov. Exh. 6701 (Msg. 1.S.159.108). On December 30, Rhodes told the DC OP:

Jan 6 21 chat that he was “putting Don Siekerman in overall command of this op. And then Whip,

Josh and Kelly as his seconds because they have been to DC prior.” Gov. Exh. 6701 (Msg.

1.S.159.83). On these chats, they coordinated plans for lodging and transportation and had

extensive conversations about what weapons and gear they would bring, among other details. Gov.

Exhs. 6825.12, 6860, 6870, 6923. They also held a series of “DC planning” GoToMeetings in the

week leading up to January 6. Gov. Exhs. 6850, 6856, 6857.

       As these plans grew more concrete and more violent, the group discussed the need for

operational security and used encrypted communications applications, such as Signal and Proton

Mail. In Florida, co-conspirator Joseph Hackett encouraged handwriting sensitive messages in

cursive and attaching them to digital communications. Gov. Exh. 4653. Hackett explained, “I

believe we only need to do this when important info is at hand like locations, identities, Ops

planning.” Id. Rhodes expressed the need to discuss more sensitive matters in a phone call as

opposed to Signal. Gov. Exh. 6803.2 (Msg. 1.S.233.1598 (“Good topic for a phone call.”)). As

Caldwell explained to Crowl, “Then I will find another format to send you the simple process we

can use for secure text and document comms. I think our time is coming.” Gov. Exh. 6825.2 (Msg.

200.F.1.3 (Caldwell messaging Crowl about using Proton Mail)).




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       The defendants, along with co-conspirator Paul Stamey and others, then took the lead in

planning the logistics for the QRF that would support the operation inside D.C. with firepower.

On December 30, Watkins wrote to Siekerman, an operational leader for January 6, “We are

coming again. I talked to Tom, I guess he won’t be using his property as a Rally Point again, so

we need a new Rally Point. I’ll txt Stewart today and sort it out. We will be there on the 5th as

well.” Gov. Exh. 6825.10 (Msg. 2050.T.3.2.). She continued, “Looks like Ranger Doug and

NCOK crew should be coming. Tom’s not able to have us stage at his property again, so we are

sorting out a new RP.” Id.; see also Gov. Exh. 6923 (Msg. 111.S.1 (Joshua James to Brian Ulrich:

“Were working on a Farm location. Some are bringing long rifles some firearms…I’m bringing

sidearm.”)).

       That same day, Caldwell updated Watkins:

       Talked to Paul. At least one full bus 40+ people coming from N.C. Another group
       (unclear if Mississippi guys) also a bus. Busses have their own lane on the 14th
       street bridge so they will be able to get in and out. Paul is driving plus 1 and arriving
       nite before. As we speak he is trying to book a room at Comfort Inn
       Ballston/Arlington because of its close-in location and easy access to downtown
       because he feels 1) he’s too broken down to be on the ground all day and 2) he is
       committed to being the quick reaction force and bringing the tools if something
       goes to hell. That way the boys don’t have to try to schlep weps on the bus. He’ll
       bring them in his truck day before. Just got a text from him he WAS able to book
       a room in that hotel I recommended which is on Glebe Road in Arlington. However
       it goes it will be great to see you again! I sure hope your arm is getting better!

Gov. Exh. 6923 (Msg. 192.T.1417). As Caldwell sent those messages, he received a message from

Stamey stating, “Booked Rm 252 5 an 6th . . . Same Comfort Inn.” Id. (Msgs. 22.S.487.A, C).

Records from the hotel show that Stamey ultimately booked three rooms at that hotel (one of which

was used by his North Carolina team, one for the Florida QRF, and one by the Arizona QRF team).

Gov. Exh. 2600.4; 10/14/22AM Tr. at 3394, 3409-22; 10/17/22AM Tr. at 3521-69. Other




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defendants and co-conspirators who stayed at the hotel included: Watkins, Crowl, Sandra and

Bennie Parker, and a team of Oath Keepers from South Carolina. Id.

       On the morning of January 2, Meggs messaged Rhodes, “Last night call … we discussed

a QRF RP so we may do that. As well as the NC team has a hotel room close by.” Gov. Exh. 6923

(Msg. 1.S.613.173).    There had, in fact, been a GoToMeeting call the night before, titled

“conference call for dc leadership/team leaders only,” which had been attended by Meggs,

operational leader Siekerman, and Southeast team leader James, among others. Gov. Exh. 6900.

As discussed above, the hotel room reserved by the NC team that Meggs referenced was the room

Caldwell directed him to book. Gov. Exh. 2600.4. Rhodes responded to Meggs’ messages about

the QRF planning to say, “Ok. We WILL have a QRF. this situation calls for it.” Gov. Exh. 6923

(Msg. 1.S.613.175). Meggs went on to elaborate the plan for the QRF: “Yes we have the overlay

maps of street closures and it looks like Lincoln is our RP of SHTF . Lots of access roads on the

edge of main area.” Id. (Msg. 1.S.613.176). Rhodes answered, “That’s good. Both in and out is

very useful.” Id. (Msg. 1.S.613.177).

       Later in the morning of January 2, Meggs messaged the DC OP: Jan 6 21 Signal chat,

“Good call last night. Lots covered, I’ll get with NC team today and find out QRF location[.]” Id.

(Msg. 1.S.159.450.) By that evening, Stamey knew Meggs’ plans for the Florida co-conspirators,

as he informed Caldwell: “FLA. 2 Men left back [presumably for the QRF]. 12 to 15 going in DC.”

Id. (Msg. 22.S.508.A). Meggs also wrote to the DC OP: Jan 6 21 Signal chat to inform the co-

conspirators of the “QRF Rally Points,” sending a map showing locations near the Lincoln

Memorial and West Potomac Park, explaining, “1 if by Land, North side of Lincoln Memorial, 2

if by Sea, Corner of west basin and Ohio is a water transport landing !!” Id. (Msgs. 1.S.159.524-

25). Meggs explained that the water transport landing would be used if “the bridges get closed.”




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Id. Stamey chimed in to say, “My sources DC working on procuring boat transport as we speak.”

Id. (Msg. 1.S.159.526). At almost the exact same time, Caldwell was reaching out to acquaintances

to ask them if they had a boat to contribute for the QRF. Id. (Msgs. 2001.T.169.12, 22.T.15.26,

22.S.624-626, 22.S.517.A). Caldwell also shared maps with Stamey showing the route from the

hotel into the city, and discussed with North Carolina leader Doug Smith the distance from the

QRF hotel to the Capitol. Id. (Msgs. 22.E.1-3, 22.S.565.A-C).

          Florida Oath Keeper and co-conspirator Jason Dolan testified about his understanding of

the purpose of the QRF, based on what he had heard from Rhodes, Meggs, and Harrelson, among

others:

          [W]e would have our firearms in—in Virginia. The overall goal why is if the
          Insurrection Act was declared, we would have a QRF, quick reaction force, ready
          to go get our firearms in order to stop the election from being certified within
          Congress. . . . And if [President Trump] didn’t do it, then we would need to step up
          and stop the certification of what—what I saw—I don’t want to put words in his
          mouth, but as what I saw as an illegitimate election. So the certification process
          would still have to be stopped.

10/18/22PM Tr. at 4109-10. Dolan explained that it was Rhodes’s messages like, “If [Trump]

doesn’t do his duty, we will do ours,” that were “why we brought our firearms.” Id. Dolan then

showed the jury the rifle and pistol he personally brought to D.C. to support this mission. Id. at

4100-4101. He identified these guns as “arms” that he was willing to take up against the

government to stop the lawful transfer of presidential power. Id.

          On the way to D.C., Watkins and Meggs both confirmed the location of the QRF drop-off

point. On the afternoon of January 4, Watkins messaged the OK FL DC OP Jan 6 chat, “We will

be in VA @ 8pm. Where can we drop off weapons to the QRF team? I’d like to have the weapons

secured prior to the Op tomorrow.” Gov. Exh. 6923 (Msg. 85.S.193808.C). The next morning,

Harrelson messaged the same chat, “We get that QRF hotel address yet?”                   Id.     (Msg.




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85.S.194617.D).    Kelly Meggs responded by directing Harrelson to “Dm” him. Id. (Msg.

85.S.194617.E).

       On the morning of January 5, Rhodes messaged the DC OP: Jan 6 21 chat, “Do NOT enter

DC with ANYTHING that would be deemed illegal in DC. Or even questionable. The DC police

have arrested multiple people for items they cannot bring into DC, including Enrique Tarrio,

president of Proud Boys. But he’s not the only one. Three others have also been arrested. They

are setting traps. Do NOT even cross over into DC at all, for any reason, with anything on you or

in your vehicle that could get you into trouble.” Gov. Exh. 6923 (Msg. 1.S.159.817). Meggs

responded, “We are ready !! Should be in DC by noon.” And then shared a link to a dropbox site

containing a video set to rock music that depicted Meggs, Harrelson, and other co-conspirators

firing weapons at targets shaped like humans at a September 2020 training they had attended. Gov.

Exh.6863 (Msg. 1.S.159.818).

       When the co-conspirators arrived in the D.C. area on January 5, 2021, the defendants and

their co-conspirators dropped off firearms, ammunition, and tactical equipment with members of

the QRF at the hotel in northern Virginia that Caldwell had identified. 10/17/22AM Tr. at 3521-

69. Shortly after noon on January 5, Meggs wrote to Rhodes, “[W]e are just outside of town

unloading at QRF on our way in. Left Rangers place at 4:30am.” Gov. Exh. 6928 (Msg.

1.T.2315.10). Rhodes responded, “Good to go. See you soon.” Id. (Msg. 1.T.2315.11). Terry

Cummings, who traveled with Dolan and Harrelson and admitted to leaving his own rifle with the

QRF, described the volume of weapons in the Florida team’s QRF room: “I had not seen that many

weapons in one location since I was in the military.” 10/12/22AM Tr. at 2728. According to

Dolan—who testified that he dropped off a rifle, a pistol, and a few hundred rounds of ammunition,

while Harrelson dropped off a bigger rifle case that could hold at least two firearms—he was




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informed by Meggs and Harrelson that “[t]hat room could be used for the staging area for the

firearms,” and that the person assigned with guarding the weapons “was good to go.” 10/18/22PM

Tr. at 4112-14, 4117-18. Dolan said his understanding was that, if called upon, the QRF would

bring the firearms to those on the ground in D.C., by either vehicle or boat, or they would go back

to the QRF hotel to retrieve their firearms. Id. at 4119.

        As the defendants and their co-conspirators descended upon D.C. in the days before

January 6, their intent for that day was clear. On December 29, Rhodes privately messaged

SoRelle:

        And then I’ll turn my attention to what I need to do as the founder and leader of
        Oath Keepers to prepare for what comes after Trump fails to do his duty. I’ll also
        have a small contingency plan for what to do if he suddenly grows a pair. But
        most of my focus will be on presuming he won’t. And preparing for the worst. . .
        . This will be DC rally number three. Getting kinda old. They don’t give a shit
        how many show up and wave a sign, pray, or yell. They won’t fear us till we come
        with rifles in hand. Only reason to go is so Trump knows we support him in taking
        Reg gloves off and kickin ass. That’s why I’m going. It’s to send HIM a message.
        Not Congress. I’m done talking to them.

Gov. Exh. 6749 (Msg. 1.S.737.2820). On January 3, Meggs told one acquaintance on Facebook,

“The natives are very restless . Tell your friend this isn’t a Rally,” and told another acquaintance,

“1776 we are gonna make history.” Gov. Exh. 6868 (Msgs. 2000.T.289, 2000.T.1164). As

Caldwell posted in a comment on Facebook on December 31, the kettle was “set to boil.” Gov.

Exh. 6923 (Msg. 2001.C.2 (“It begins for real Jan 5 and 6 on Washington D.C. when we mobilize

in the streets. Let them try to certify some crud on capitol hill with a million or more patriots in

the streets. This kettle is set to boil….”)).

                       iii. January 6, 2021

        On the morning of January 6, as they watched and waited from the QRF staging location

with the weapons, co-conspirators Edward Vallejo and Todd Kandaris discussed the possibility of




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“armed conflict” and “guerilla war” if President Trump or Vice President Michael R. Pence did

not stop the Certification Proceeding that day. Gov. Exh. 1052. They explained that “there are

people who are prepared, have the will, have the facilities to do more than taunt.” Id.

       Later that day, around 1:25 p.m., when it became clear that President Trump and Vice

President Pence were not going to intercede to stop the Certification of the Electoral College vote,

and as a large crowd gathered on the Capitol grounds and converged on the building, Rhodes

messaged the DC OP: Jan 6 21 chat: “Pence is doing nothing. As I predicted.” Gov. Exh. 1500.

At 1:38 p.m., Rhodes sent another message to the chat stating, “All I see Trump doing is

complaining. I see no intent by him to do anything. So the patriots are taking it into their own

hands. They’ve had enough.” Gov. Exh. 1500. Similarly, at 1:41 p.m., Rhodes sent a message to

the OLD Leadership CHAT stating, “Hey, the founding generation stormed the governors mansion

in MA . . . . They didn’t fire on them, but they street fought. That’s where we are now. Next

comes our ‘Lexington.’” Id. In the context of all the messages Rhodes and his co-defendants had

exchanged in the lead-up to January 6, these words were a call to action.

       Indeed, shortly thereafter, as video recovered from Watkins’ phone shows, members of

Stack One started moving from the Ellipse towards the Capitol. Id.; 192.V.1. As she marched

with Stack One down Pennsylvania Avenue at approximately 1:50 p.m., Watkins announced over

the “Stop the Steal J6” Zello channel, “We have a good group. We’ve got about 30, 40 of us. We’re

sticking together and sticking to the plan.” Gov. Exh. 1500, 1502. She elaborated, “It has spread

like wildfire that Pence has betrayed us, and everybody’s marching on the Capitol.” Id. She

continued, “Trump’s been trying to drain the swamp with a straw. We just brought a shop vac.”

Id. Then, at about 2:00 p.m., Watkins told those on the Zello channel, “We’re one block away




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from the Capitol now. I’m probably gonna go silent when I get there because I’m gonna be a little

busy.” Id.

       Meanwhile, on yet another encrypted, invitation-only group chat titled “Jan 5/6 DC Op

Intel team,” which included Rhodes, co-conspirator James, and others, a participant posted a link

to a video titled “live stream of patriots storming capital,” and another participant asked, “Are they

actually Patriots - not those who were going to go in disguise as Patriots and cause trouble[?]”

Gov. Exh. 1500. Rhodes responded, “Actual Patriots. Pissed off patriots[.] Like the Sons of

Liberty were pissed off patriots[.]” Id. James responded, “We’re coming to the Capitol ETA 30

MIN.” Id. James and several co-conspirators (including Roberto Minuta, Mark Grods, and Brian

Ulrich) then headed toward the Capitol. Id.

       By 2:30 p.m., Rhodes had entered the Capitol grounds himself and had begun explicitly

directing his co-conspirators to come to the Capitol to join him. Gov. Exh. 1500. Florida Oath

Keeper Terry Cummings testified about Stack One’s march towards the Capitol. He recalled that

on the way, Meggs mentioned that people had breached the Capitol. 10/12/22AM Tr. at 2732,

2739-41. Meggs then “was wondering about whether we should enter the Capitol.” Id. at 2741.

Cummings continued, “He was wanting to find someone to talk to them.” Id. Cummings then

took a wisely timed bathroom break, and when he returned, Stack One was gone. Id. According

to Young, Kelly Meggs was his superior and was attempting to “rendezvous with Stewart” to

decide “next actions as a group.” 10/31/22PM Tr. at 5857.

       At about 2:32 p.m., Meggs engaged in a phone conversation with Rhodes, who was already

on the phone with Michael Greene, an operational leader for January 6. Rhodes merged them into

a three-way call. Gov. Exhs. 1500, 6740; 10/20/22PM Tr. at 4709-10. Moments later, Meggs led

Stack One up the east steps of the Capitol to the area outside the East Rotunda doors, where rioters




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were using their hands, flags, and chemical spray to assault the officers guarding the doors, , and

violently trying to force entry. Gov. Exhs. 1500; 10/20/22PM Tr. at 4710-12. For minutes, the

crowd—including Meggs, Watkins, Harrelson, and other co-conspirators—attempted to break into

the Capitol. When the doors eventually opened, Meggs motioned for Stack One to enter. Id.

       Once inside, half of Stack One, led by Watkins, tried to force their way past riot police to

the Senate Chamber. Gov. Exhs. 1500, 1505; 10/20/22PM Tr. at 4781-98. The government

introduced video of Watkins yelling, “Push! Push! Push!” and “Get in there!” and “They can’t

hold us!” as she and six of her co-conspirators joined the mob attempting to push down the hallway

towards the Senate Chamber.       Gov. Exh. 1505. District of Columbia Metropolitan Police

Department (MPD) Officer Christopher Owens, who was deployed to that hallway with other

officers to form a line to try to block the mob from getting to the Senate Chamber, described the

size and force of the mob and how it continued to push back the police line. 10/26/22AM Tr. at

5446-54. Only by deploying chemical spray were the officers finally able to repel the rioters and

hold their line. Gov. Exhs. 1505; 10/26/22AM Tr. at 5446-54. Watkins later described her conduct

in that hallway: “We were in the thick of it. Stormed the Capitol. Forced our way into the Senate

and House. Got tear gassed and muscled the cops back like Spartans.” Gov. Exh. 6734 (Msg.

192.T.1521).

       Meanwhile, the other half of Stack One, led by Meggs and Harrelson, pushed into the

House side of the building, in search of Speaker of the House Nancy Pelosi. Gov. Exhs. 1500,

1505, 1506, 6734 (Msgs. 7.T.570.9758, 9760-61). There, they encountered U.S. Capitol Police

Officer Harry Dunn, who was guarding a staircase down to the Crypt level of the building.

10/31/22AM Tr. at 5593. Officer Dunn and U.S. Capitol Police Special Agent David Lazarus

explained that Meggs and Harrelson and their co-conspirators were only about ten feet from the




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entrance to Speaker Pelosi’s office suite at this time; however, the sign to the office had fortunately

already been torn down by rioters, obscuring the nature of the office. 10/31/22AM Tr. at 5658-

59.

       While the members of Stack One breached the east side of the Capitol and split into teams

pushing toward the House and Senate, Caldwell had, in his words, “climbed the steps after

breaking 2 rows of barricades” and “got on the parapets” on the west side of the Capitol. Gov.

Exhs. 1500, 6734 (Msg. 22.T.27.2883). There, Caldwell joined the mob that was assaulting

officers and trying to break into the building. As Caldwell later described it, “[T]he people in front

of me broke through the doors and the doors and started duking it out with the pigs who broke and

ran. Then we started stealing the cops riot shields and throwing fire extinguishers through

windows. It was a great time.” Id.

       Half an hour later, another group of co-conspirators breached the Capitol through the very

same doors as Stack One. Stack Two, led by James and Minuta, arrived at the Capitol grounds

shortly after 2:30 p.m. Gov. Exh. 1500; 10/20/22PM Tr. at 4798-4805. Stack Two then penetrated

the restricted Capitol grounds, marched to the east side doors through which Stack One had

entered, and breached the Capitol at approximately 3:15 p.m. Id. Members of Stack Two tried to

force their way into the Rotunda and assaulted law enforcement officers while screaming that this

was “our fucking building.” Gov. Exh. 1500. These Stack Two co-conspirators were eventually

expelled by riot police officers who had begun clearing the building. Id. After they left the Capitol,

members of both Stack One and Stack Two met up with Rhodes and other Oath Keeper members

and affiliates just outside the Capitol. 11/02/22AM at 5981-83; Gov. Exh. 5306.1.

       Co-conspirators Dolan and Young both testified that their actions on January 6 were

directly linked to the implicit agreement they had entered into with other Oath Keeper members




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and affiliates—including the defendants—to stop the lawful transfer of presidential power by any

means necessary. Dolan testified that his understanding of the criminal objective was derived from

messages like the December 25 messages sent by Rhodes to the OKFL Hangout chat, where

Rhodes stated that if President Trump did not act to stop the election fraud, then the Oath Keepers

would have to. Dolan explained:

       Well, that’s my exact understanding: If the president didn’t act, then we needed to.
       We were up in D.C. We were there. We were on location. So when the Capitol
       Building—when the doors opened, we get—went in. I mean, we were all in line.
       We could have gotten out of line. We could have moved out of the way. We—it
       probably would have been hard or difficult. But we went in. And it’s—it’s this—it
       was that same idea of the—the texts over and over: We will do something. We will
       do something. We will do something. And now here we are in front of the Capitol
       doors, and they opened. And it was: Let’s do something.

10/19/2022PM Tr. 4417-18.

       Young testified: “We talked about doing something about the fraud in the election before

we went there on the 6th. And then when the crowd got over the barricade and they went into the

building, an opportunity presented itself to do something. We didn’t tell each other that.”

10/31/2022PM Tr. 5853. Rather, in Young’s words, it was “common sense.” Id. Young further

explained that he and his co-conspirators had come to D.C. on January 6 prepared to fight against

“[t]he corrupt elements in the government that were allowing the election to proceed, and

obviously leftists and extremists and whoever else was in the way.” 10/31/2022PM Tr. at 5866.

Young acknowledged that in so doing, he was “acting like a traitor.” Id.

                      iv. After January 6

       In the messages they sent on the evening of January 6, the defendants struck a tone of

defiance and showed an intent to continue opposing the lawful transfer of power by force. “You

ain’t seen nothing yet,” Rhodes wrote to the DC OP: Jan 6 21 Signal chat. Gov. Exh. 6732 (Msg

1.S.159.1322). He continued, “Patriots entering their own Capitol to send a message to the traitors



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is NOTHING compared to what’s coming.” Id. (Msg. 1.S.159.1328). Meggs echoed Rhodes,

adding to that same Signal chat a message stating, “We aren’t quitting!! We are reloading!!” Id.

(Msg. 1.S.159.1326). Caldwell wrote to Crowl, “We need to do this at the local level. Lets storm

the capitol in Ohio. Tell me when!” Id. (Msg. 2002.T.79C). Watkins posted to Parler, “We stormed

the Capitol, personally. Got tear gassed and everything. We won’t back down in fear. We are.

AMERICANS!” Gov. Exh. 6734 (Msg. 2050.C.176).

       In the following weeks, the defendants continued to take actions in furtherance of the

conspiracy. In a message titled “Critical Message for Oath Keepers and Patriots Part I,” which he

posted to the OLD Leadership CHAT on January 14, Rhodes wrote:

       Now that it is regretfully becoming clear that President Trump will not be taking
       the decisive action we urged him to take, using the Insurrection Act and a
       declass/data dump, let’s follow the Founders’ game plan, using their strategies and
       methods, which focused first on declarations of illegitimacy, nullification
       (declaring unconstitutional acts to be null and void from inception, and refusing to
       obey them), unified mass non‐compliance with unconstitutional and oppressive
       actions and then on self defense, mutual defense, and resistance when the domestic
       enemies of the Constitution come for us. That’s how the Founders did it, and it
       worked. There is nothing new under the sun. Let us adapt their game plan to our
       current situation.

Gov. Exh. 9073.1 (Msg. 1.S.696.19133). During the two-week period from the January 6 attack

to the January 20 Inauguration, Rhodes spent more than $17,000 on firearms and tactical

equipment. Id.

       Rhodes also summoned co-conspirators to join him in Texas. Gov. Exhs. 9062 (Msg.

54.S.95.2), 9064, 9065, 9066. James answered the call and collected what he referred to as “all

available firearms” to take to Texas, where he stayed with Rhodes and others. Gov. Exh. 9066.

On January 10, James sent Meggs a message asking if Meggs and other Florida Oath Keepers were

coming to Texas to join him and Rhodes, and Meggs responded, “Fl stays home until shots fired

!” Gov. Exh. 9072. Meanwhile, Watkins told Crowl about how she and other Oath Keepers in the



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Midwest were “organizing a bugout plan if the usurper is installed,” Gov. Exh. 9079 (Msg.

2003.T.280.C), which she described as, “Something like 20+ Oathkeepers going to Kentucky

mountains on hundreds of acres.” Id. (Msg. 2003.T.280.E). She continued, “Gives us the high

ground, and makes tunneling out fighting positions great (above water line). Be like the NVA and

network tunnels.” Id. (Msg. 2003.T.281.C). (As Special Agent Jack Moore testified, the “NVA”

is an apparent reference to the North Vietnamese Army, which used “guerilla tactics” against the

government, like Watkins described using.) 11/02/22PM Tr. at 6540-41. For his part, Caldwell

wrote to a Facebook acquaintance:

       Sharon and I were in D.C. as you must know and while not in the VERY thick of
       it, we were in the middle of some heavy stuff. We are, of course, both o.k. and we
       are planning for the worst and have been for awhile. More on that through secure
       comms. We are patriots and we are aligned with others. Welcome to the fight.

Gov. Exh. 9078 (Msg. 2001.24.C).

       The FBI began arresting co-conspirators three days before the Inauguration, starting with

Watkins on January 17, and Caldwell on January 19. 11/02/22PM Tr. at 6556-57, 6559-60. The

defendants who had not yet been arrested took note and altered their behavior accordingly. On the

date of Watkins’ arrest, Rhodes messaged Meggs, “Call me please ASAP,” and sent Meggs contact

information for a criminal defense attorney. Gov. Exh. 9082 (Msgs. 1.S.613.181-182). On

January 20, Meggs messaged Rhodes, “I am going totally dark I will stay in touch.” Id. (Msg.

1.S.613.183).

                b. Evidence of Obstruction of an Official Proceeding

       As discussed above, the defendants and their co-conspirators joined with thousands of other

rioters in breaching the Capitol building and grounds on January 6. U.S. Capitol Police Captain

Ronald Ortega presented testimony and video evidence demonstrating the way in which the rioters

swarmed the building and overwhelmed law enforcement—including on both the west and east



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sides of the Capitol, where the defendants and their co-conspirators were engaged in their criminal

acts in and around the building. Gov. Exh. 1515; 10/18/22AM Tr. at 3920-46; 10/18/22PM Tr. at

3998-4061. Through the testimony and video admitted through Thomas Wickham, the former

Parliamentarian of the U.S. House of Representatives who was present at the Capitol in a

consulting capacity on January 6, the government established that the conduct of the defendants

and the other rioters caused Congress to recess the Certification proceeding and prevented

Congress from being able to reconvene until late in the evening on January 6. Gov. Exh. 1516;

10/19/22PM Tr. at 4420-73.

               c. Evidence of Interfering with Law Enforcement During a Civil Disorder

       As noted above, Count Six of the indictment charges Watkins with committing an act to

obstruct, impede, or interfere with law enforcement officers lawfully carrying out their official

duties incident to a civil disorder, in violation of 18 U.S.C. §§ 231(a)(3) and 2 (Count Six). As

discussed in greater detail above, Watkins led six other co-conspirators down the hallway leading

to the Senate Chamber, and joined the mob trying to force their way past riot police to gain access

to the Chamber. Gov. Exhs. 1500, 1505; 10/20/22PM Tr. at 4781-98. MPD Officer Christopher

Owens, who was deployed to that hallway with other officers to form a line to try to block the mob

from getting to the Senate Chamber, described how the conduct of Watkins and other members of

the mob interfered with his abilities to do his job. 10/26/22AM Tr. at 5446-54. Only by deploying

chemical spray were Officer Owens and his fellow officers able repel Watkins, her co-conspirators,

and the rioters back and hold their line. Gov. Exhs. 1505; 10/26/22AM Tr. at 5446-54.

       The government established that this conduct was part of a civil disorder through the

testimony of USCP Captain Ronald Ortega and the video introduced during his testimony. Gov.

Exh. 1515; 10/18/22AM Tr. at 3920-46; 10/18/22PM Tr. at 3998-4061. This testimony and video




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evidence established the immense nature and scale of the attack on the Capitol, as well as the

tremendously taxing impact it had on the resources of not only the U.S. Capitol Police, but

numerous other law enforcement agencies in this area. The government further established that

this civil disorder obstructed, delayed, and adversely affected interstate commerce, the movement

of articles and commodities in interstate commerce, and the conduct or performance of a federally

protected function. First, the government established an adverse effect on interstate commerce

through the testimony of Edgar Tippett, district manager for Safeway Stores Incorporated who

manages the region that includes all of the 12 Safeway grocery stores located in the District of

Columbia. 10/31/22AM Tr. at 5667. Safeway closed all of its stores in the District of Columbia

from 4:00 p.m. on the afternoon of January 6, 2021, through 6:00 a.m. on the morning of January

7, 2021, in order to comply with a curfew that had been put into place by District of Columbia

Mayor Muriel Bowser as a result of the civil disorder at the Capitol. Gov. Exh. 3510.1;

10/31/22AM Tr. at 5667-70. As the parties agreed in a stipulation moved into evidence and

published to the jury on October 31, 2022:

       On January 6, 2021, at 2:31 p.m., Washington, D.C. Mayor Muriel Bowser ordered
       a citywide curfew for the District of Columbia to be effective from 6:00 p.m. on
       Wednesday, January 6, until 6:00 a.m. on Thursday, January 7, 2021, because of
       what the Mayor asserted was a civil disorder occurring at the United States Capitol
       on January 6, 2021. During the hours of the curfew, no person, other than persons
       designated by the Mayor, was legally able to walk, bike, run, loiter, stand, or motor
       by car or other mode of transport upon any street, alley, park, or other public place
       within the District of Columbia.

Gov. Exh. 3006. As a result of the closures, all of the Safeway stores in the District saw earnings

on January 6 that were well below the projected earnings for that day. Gov. Exh. 3510.2;

10/31/22AM Tr. at 5671-80. The curfew also resulted in the Safeway stores in the District being

unable to receive shipments from their primary supplier in Lancaster, Pennsylvania. 10/31/22AM

Tr. at 5680-81. “That put us entirely—put us a day behind, as many as two days depending on



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your volume, because our D.C. stores normally do particularly well high sales—they’re a high-

sales stores,” Mr. Tippett testified. Id.

       Second, the government presented evidence that the civil disorder at the Capitol impeded

the conduct and performance of a federally protected function, namely, the ability of the United

States Secrete Service, a component of the executive branch Department of Homeland Security,

in protecting the Vice President of the United States. The government presented the testimony of

Lanelle Hawa, an Inspector with the United States Secret Service who was serving on January 6

as a liaison to facilitate visits of Secret Service protectees like the Vice President to the U.S.

Capitol. 10/26/22AM Tr. at 5408-11. Vice President Pence was visiting the Capitol on January 6

to participate in the Certification Proceeding. Gov. Exh. 9053; 10/26/22AM Tr. at 5411-16.

Inspector Hawa testified that the rioters’ breach of the Capitol forced the Secret Service to relocate

the Vice President’s Motorcade, evacuate the Vice President from the Senate floor to his office,

and ultimately relocate him to a more secure location within the Capitol complex. Gov. Exhs.

9052, 9054; 10/26/22AM Tr. at 5416-29. According to Inspector Hawa, it took nearly five hours

to expel the rioters and clear the building, so that the Vice President and other members of

Congress could return and resume the Certification Proceeding. 10/16/22AM Tr. at 5428-29.

               d. Evidence of Destruction of Property

       Meggs, Harrelson, and Watkins stand charged in Count Five with destruction of

government property and aiding and abetting, in violation of 18 U.S.C. §§ 1361 and 2 (Count

Five), for damage to the East Rotunda Doors entrance area that they attempted and aided and

abetted as they breached the building. The evidence at trial established that Meggs, Harrelson,

and Watkins joined with the mob that forced entry through these doors at approximately 2:39 p.m.

The video evidence of that breach showed that the crowd violently pushed and pulled on the doors,




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threw projectiles at the doors, jabbed flagpoles at them, and deployed chemical towards them. See,

e.g., Gov. Exh. 1503. The video evidence also showed that Meggs, Harrelson, and Watkins joined

this mob, helping to push towards the doors, and ultimately forcibly enter the Capitol through

them. Id. Jason McIntyre, who works for the office of the Architect of the Capitol as a Deputy

Superintendent for the United States Capitol and Capitol Visitor Center, testified about the damage

sustained to the East Rotunda Doors and the ornate Columbus Doors that surround them, including

three panes of glass broken to the East Rotunda Doors, a door handle that had been pulled off, a

door closer that was damaged, and the damage caused to the bronze detailing on the Columbus

Doors from residue from chemical irritants that were sprayed both by the rioters and by the police

in trying to expel the rioters. Gov. Exhs. 2122-2125; 10/26/22AM Tr. at 5462-76. It cost a total

of over $24,000 to repair the damage to the doors. Id.

                 e. Evidence of Obstruction / Tampering with Evidence

       In the days and weeks after January 6, all the defendants deleted or encouraged others to

delete digital evidence of these crimes. On January 8, Rhodes, through Kellye SoRelle’s phone,

sent a message to the OLD Leadership CHAT that stated, “We are still in the twighlight before

open conflict. In this environment ‘law fare’ by the black hats is a very real threat. They WILL be

coming after anyone they can identify as being in the building. Do not make it easier for them.

Make them do their own work.” Gov. Exh. 9061 (Msg. 54.S.125.2871). He continued:

       Let me finish this point: DO NOT chat about Oath Keepers members allegedly
       doing anything at capitol. Go dark on that. Do not discuss. That’s what I would
       advise any criminal defense client to to anyone who is at risk of being accused and
       indicted. Let me put it in infantry speak: SHUT THE FUCK UP! Do not discuss
       who did what. Go silent. Comms discipline. Don’t write AARs, don’t do verbal
       AARs, don’t chat with your buddies. Or your team. Clam up.

Id. (Msg. 54.S.125.2874). And six minutes later, Rhodes through SoRelle’s phone put a final point

on the matter:



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       YOU ALL NEED TO DELETE ANY OF YOUR COMMENTS REGARDING
       WHO DID WHAT. You are under zero obligation to leave them up. You/we have
       not yet gotten a preservation order instructing us to retain those chat comments. So
       DELETE THEM. I can’t delete them because this is a legacy Signal chat that
       doesn’t let me delete comments. Only the comment author can delete a comment.
       So GET BUSY. DELETE your self-incriminating comments or those that can
       incriminate others. Start now. Each of you Go back to before the event and scroll
       forward and hunt down any comment you made that can be used against you, other
       Oath Keepers, or the org and delete them. And especially AARs and war stories.
       Kill em. Do it now.

Id. (Msg. 54.S.125.2878-79).

       Rhodes’s co-conspirators, including all four of his co-defendants, deleted evidence from

their phones in the weeks that followed. Co-conspirator James forwarded Rhodes’s message

encouraging deletion to another co-conspirator, Mark Grods, and wrote, “We need to make sure

that all signal comms about the op has been deleted and burned.” Gov. Exh. 9066 (Msg. 111.S.12,

111.S.1413 - B). Grods later indicated that he had complied. Id. A week later, on January 14,

when Watkins fled Ohio with co-conspirator Crowl to hide out at Caldwell’s residence, she left

her phone behind. 11/02/22PM Tr. at 6548. When her phone was seized three days later, and

searched pursuant to warrant, it no longer had the Signal application installed. Id.

       Meanwhile, on January 14, as Watkins and Crowl were on their way to hide at his home,

Caldwell “unsent” and deleted over 175 messages from his Facebook account that, based on the

timing and context, likely referenced his role in the conspiracy. 11/01/22PM Tr. at 6197. For

example, on January 2, about 1.5 hours after co-conspirator Stamey told those on the DC OP: Jan

6 21 chat, “My sources DC working on procuring Boat transport as we speak,” Caldwell sent a

message, which he unsent on January 14, but which prompted the response, “Damn I wish I did

lol. I’d be your captain for sure! And off the top of my head I can’t think of anyone with a boat.

Smoot has a bass boat. It wouldn’t go on the Potomac though.” Gov. Exh. 6923 (pages 61-63).

Similarly, the government was also able to show through the Facebook records and phone of co-



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conspirator Crowl, who received and downloaded some of these messages, that some of them

referenced videos which Caldwell identified as showing his, Watkins’, and Crowl’s participation

in the attack on the Capitol. Gov. Exhs. 1051.1, 1105, 6734 (Msg. 2002.T.85E), 9079 (Msgs.

22.F.1.30-33); 11/02/22PM Tr. at 6553-54.

       A couple of weeks later, on February 4, 2021, after Watkins, Crowl, and Caldwell had been

arrested, and the first indictment in this case had been publicly filed, Meggs and Harrelson

exchanged the following messages on Signal:

           Harrelson: Is there anyway we can clear out the messages in our chats, I don’t
                      think it would be a bad idea, clear out all the talk of hiding the tools
                      and shit

           Meggs:     We can delete the old and start a bee

           Meggs:     New

           Harrelson: Let’s do that as long as you think it deletes everything, I don’t want
                      the boys to have anything to look at if you know what I mean, I’ll
                      run through let me delete our DMs real quick, send one in like 2
                      minutes, if that works on my end then we’ll just repeat the process

           Harrelson: Yep cleared it right out

Gov. Exh. 9086 (Msgs. 7.S.34.21-25); 11/02/22PM Tr. at 6566. When Meggs was arrested two

weeks later, he had deleted all Signal messages from the time period of the conspiracy (although

not the above messages with Harrelson discussing deleting messages). Id. When Harrelson was

arrested in March 2021, all Signal data had been deleted from his phone. 11/02/22PM Tr. at 6566-

67.

       The parties stipulated that a grand jury for the United States District Court for the District

of Columbia opened its investigation into the attack on the Capitol on or about January 8, 2021.

Gov. Exh. 3012. The nature of the deleted evidence, combined with messages sent by the

defendants discussing the need to delete incriminating digital evidence, suggests that this conduct



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was undertaken with the intent to impair these items’ integrity or availability for use in an official

proceeding.

        C. Legal Background

        Rule 29(a) of the Federal Rules of Criminal Procedure provides that “[a]fter the

government closes its evidence or after the close of all the evidence, the court on the defendant’s

motion must enter a judgment of acquittal of any offense for which the evidence is insufficient to

sustain a conviction.” FED. R. CRIM. P. 29(a). When ruling on a motion for judgment of

acquittal, the Court must “consider[ ] the evidence in the light most favorable to the government

and determin[e] whether, so read, it is sufficient to permit a rational trier of fact to find all of the

essential elements of the crime beyond a reasonable doubt.” See United States v. Kayode, 254

F.3d 204, 212-13 (D.C. Cir. 2001) (quoting United States v. Harrington, 108 F.3d 1460, 1464

(D.C. Cir. 1997)); United States v. Duran, 884 F. Supp. 577, 583 (D.D.C. 1995), aff’d, 96 F.3d

1495 (D.C. Cir. 1996). The Court must “accord[ ] the government the benefit of all legitimate

inferences,” see United States v. Weisz, 718 F.2d 413, 437 (D.C. Cir. 1983), cert. denied 104 S.

Ct. 1285 (1984), and deny the motion if “any rational trier of fact could have found the essential

elements of the crime beyond a reasonable doubt.” See United States v. Arrington, 309 F.3d 40,

48 (D.C. Cir. 2002) (emphasis in original) (quoting Jackson v. Virginia, 443 U.S. 307, 319 (1979)).

Put another way, the Court may grant a motion for judgment of acquittal only when “a reasonable

juror must necessarily have had a reasonable doubt as to the defendant[‘]s guilt.” See United States

v. Weisz, 718 F.2d at 437 (emphasis in original) (citing United States v. Singleton, 702 F.2d 1159,

1162-63 (D.C. Cir. 1983)); see also United States v. Reese, 561 F.2d 894, 898 (D.C. Cir. 1977);

Curley v. United States, 160 F.2d 229, 232-33 (D.C. Cir. 1947) (“[I]f there is no evidence upon

which a reasonable mind might fairly conclude guilt beyond reasonable doubt, the motion [for




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judgment of acquittal] must be granted.”), cert. denied, 331 U.S. 837 (1947).

   II.      Argument

         The evidence adduced in the government’s case-in-chief is more than sufficient to establish

the elements as to each of the defendants on every charge in the Indictment.

         A. Seditious Conspiracy (18 U.S.C. § 2384)

         Count One charges all defendants with seditious conspiracy, in violation of 18 U.S.C.

§ 2384. Section 2384 prohibits a conspiracy to “overthrow, put down, or to destroy by force the

Government of the United States, or to levy war against them, or to oppose by force the authority

thereof, or by force to prevent, hinder, or delay the execution of any law of the United States, or

by force to seize, take, or possess any property of the United States contrary to the authority

thereof.” 18 U.S.C. § 2384. The defendants are alleged to have violated Section 2384 by

conspiring “to oppose by force the authority of the Government of the United States,” and “by

force to prevent, hinder, and delay the execution of any law of the United States,” namely, the

“laws governing the transfer of power, including the Twelfth and Twentieth Amendments to the

Constitution and Title 3, Section 15 of the United States Code.” ECF No. 167 at ¶ 16. The

evidence establishes their guilt with respect to both goals.

         A violation of Section 2384 under either of the two prongs charged here requires proof that

a defendant agreed to use force against the “government as a government,” and thus requires that

a defendant planned to use force “to resist some positive assertion of authority by the government”

or to resist “the authority of the United States while endeavoring to carry the laws into execution.”

Baldwin v. Franks, 120 U.S. 678, 693 (1887) (emphasis added). The evidence must establish that

defendants planned a “forcible resistance of the authority of the United States while endeavoring

to carry the laws into execution.” Id. The evidence demonstrates that the defendants planned to




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use force to oppose or otherwise prevent the transfer of presidential power as reflected in the

certification of the Electoral College vote required by the Constitution, see U.S. Const. art. II, § 1,

cl. 3, amend. XII, amend. XX, and the Electoral Count Act of 1887, see 3 U.S.C. § 15 et seq.

       Establishing a violation of Section 2384 as charged in this case requires two elements.

First, that the defendant conspired or agreed with at least one other person with the goal of either

(a) opposing by force the authority of the Government of the United States, or (b) preventing,

hindering, or delaying the execution of any law of the United States by force. And second, that

the defendant joined or entered into that agreement with awareness of one or both of its unlawful

goals. Joint Proposed Jury Instructions, at 16, at 10.1

       To prove a conspiratorial agreement, “the government need only show that the conspirators

agreed on ‘the essential nature of the plan,’ not that they ‘agreed on the details of their criminal

scheme.’” United States v. Gatling, 96 F.3d 1511, 1518 (D.C. Cir. 1996) (quoting United States

v. Treadwell, 760 F.2d 327, 336 (D.C. Cir. 1985) (citation and quotation marks omitted)); see also

United States v. Hitt, 249 F.3d 1010, 1015 (D.C. Cir. 2001) (citing United States v. Rosenblatt,

554 F.2d 36, 38 (2d Cir. 1977)). As the Supreme Court in Blumenthal v. United States, 332 U.S.

539 (1947), explained, “the law rightly gives room for allowing the conviction of those discovered

upon showing sufficiently the essential nature of the plan and their connections with it, without

requiring evidence of knowledge of all its details or of the participation of others.” Id. at 557

(footnote omitted). “Otherwise,” the Supreme Court observed, “the difficulties, not only of

discovery, but of certainty in proof and of correlating proof with pleading would become

insuperable, and conspirators would go free by their very ingenuity.” Id. It follows, therefore,



1
 The Joint Proposed Jury Instructions cited here refer to the version filed by the government on
November 2, 2022. See ECF No. 380.


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that the evidence need not establish that the defendants settled on every detail of an intricately

developed plan. Nor does it matter whether the persons who formed the agreement actually carried

out their plans or whether the agreement ultimately was successful; though, proof concerning the

accomplishment of the object of the conspiracy may certainly be evidence of the existence of the

conspiracy itself. See, generally, Proposed Jury Instructions, at 10-12 (describing what is required

to establish the existence of a conspiratorial agreement).

       The evidence must also show that a defendant conspired or agreed with at least one other

person to accomplish either of the alleged goals: “opposing by force the authority of the

Government of the United States, or preventing, hindering, or delaying the execution of any law

of the United States by force.” Joint Proposed Jury Instructions, at 16. A conspiracy to oppose

the government’s authority entails that a principal purpose of the defendants’ agreement was to

“adversely affect the ability of the United States government to govern or perform one of its proper

functions.” Id. at 17. And, as charged in this case, a conspiracy to prevent, hinder or delay the

law requires proof that the defendants agreed to target laws governing the transfer of presidential

power, including the constitutional and federal statutory provisions identified above. Id. at 18.

For either unlawful aim, the evidence must also establish that the defendants agreed to use force,

understood in its ordinary sense to mean an act or acts “that threaten[] or result[] in violence” or

“threaten[] or result[] in harming or destroying property or harming or killing people.” Id.2 The


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  That understanding of force draws on the common-law linkage between force and violence, see
Stokeling v. United States, 139 S. Ct. 544, 550 (2019) (“common-law authorities frequently used
the terms ‘violence’ and ‘force” interchangeably”), and reflects mid-nineteenth-century legal
definitions of force that would have informed the legislators who drafted and enacted the original
seditious conspiracy provision. See Webster’s American Dictionary of the English Language
(1828) (force defined as “any unlawful violence to person or property”); see also Stokeling, 139
S. Ct. at 550 (defining “force” as either “power, violence, or pressure directed against a person or
thing,” or “unlawful violence threatened or committed against persons or property”) (citing
dictionaries).


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defendants need not, however, actually use force to violate Section 2384. Id. at 18-19; see Bryant

v. United States, 257 F. 378, 385-86 (5th Cir. 1919); see also Dennis v. United States, 341 U.S.

494, 573 (1951) (Jackson, J., concurring) (“The basic rationale of the law of conspiracy is that a

conspiracy may be an evil in itself, independently of any other evil it seeks to accomplish.”).

         Second, the evidence must demonstrate that a given defendant “joined or entered into that

agreement with awareness of one or both of its unlawful goals.” Joint Proposed Jury Instructions,

at 16. Specifically, the evidence must show that the defendant “intentionally participated” in the

conspiracy “with knowledge of its unlawful purposes, and with the intent to further its unlawful

objectives.” Id. at 12. A defendant may join a conspiracy without knowing “the full extent of the

conspiracy or all of the activities of all of its participants” or “every other member of the

conspiracy.” Id. at 13. A defendant may join a conspiracy “at any time in its progress” and “still

be responsible for all that was done before he joined” as long as “those acts were reasonably

foreseeable and within the scope of the defendant’s agreement.” Id. at 14. And once an individual

knowingly joins a conspiracy, that individual retains “continuous membership in that conspiracy

unless and until the defendant withdraws.” United States v. Moore, 651 F.3d 30, 90 (D.C. Cir.

2011).

         The evidence, when viewed in the light most favorable to the government, amply

establishes beyond a reasonable doubt each seditious conspiracy element for each defendant. First,

the evidence described above demonstrates that a conspiratorial agreement existed that

encompassed the defendants and others. See supra at 3-27. In short, beginning not long after the

November 2020 presidential election, the defendants, led by Stewart Rhodes, began scheming to

stop the transfer of presidential power prescribed under the Constitution and federal law when an

individual secures sufficient Electoral College votes to be declared the President-Elect. In early




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November 2020, Rhodes was advocating force to oppose any transfer of power through leadership

chat messages, see Gov. Exh. 6615.C ((Msg. 1.S.696.13005), and in a GoToMeeting call,

10/4/22AM Tr. at 1442-81; Gov. Exhs. 1000.1 through 1000.11, 6611, 6615.D (Msg.

1.S.696.13376)—both of which were sent to Meggs and Watkins. At the GoToMeeting call on

November 9, for example, Rhodes sketched out the details of how the defendants would achieve

their objective: an armed QRF would stand by as those committed to his vision of the country

readied themselves to fight to stop what they viewed as a fraudulent election. Rhodes urged those

on the call to follow the example of Serbians who (as Rhodes had earlier described in detail in

Signal chats) had enacted regime change by breaking through barricades and storming the

legislature. See supra at 4-6. In something of a dry run for January 6, certain defendants—Rhodes,

Meggs, Watkins, and Caldwell—traveled to Washington, D.C. in mid-November 2020, during

which Rhodes indicated that they planned to oppose the “rogue government,” 10/16/2022AM Tr.

1900-02, 1909. Coming out of that event, this group of defendants began recruiting others to join

their conspiracy, see supra 8-9 (describing Watkins’ and Meggs’ recruiting efforts), and taking

more active roles within the larger Oath Keepers organization, id. at 9-10 (describing Harrelson).

       By early December, the defendants began to focus their efforts on using force against the

government. Rhodes repeatedly told his co-conspirators that they had to fight against what they

viewed as an illegitimate government. See Gov. Exh. 6748 (Msg. 1.T.2186.50) (describing then

President-Elect Biden as “the ChiCom puppet”). Similarly, as Jason Dolan observed, the co-

conspirators in December were preparing to “take up arms and fight back” against “an illegitimate

government” and “support what [the co-conspirators] saw as the Rightful President.” 10/18/22PM

Tr. at 4099. On December 20, 2020, Alabama Oath Keeper Joshua James alerted others on a chat

that the “SE Regional” branch of the Oath Keepers were mobilizing, while Caldwell messaged




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Doug Smith about “stag[ing] materials” and “contingency planning.” Supra 12. In an open letter

two days later, Rhodes wrote that if the President did not act to stop the fraudulent election results

from being certified, Rhodes and others may have to “take to arms in defense of our God given

liberty.” Gov. Exh. 1008.

       The conspiratorial agreement crystallized in late December 2020 and early January 2021

as the defendants and other co-conspirators ramped up logistical plans focused on January 6, the

day that Congress met to certify the results of the 2020 Presidential Election. See supra 15-20.

Throughout that period, the evidence of the defendants’ conspiracy included the defendants arming

themselves, traveling to the District of Columbia, discussing different strategy and tactics, and

delivering a cache of firearms to the “QRF hotel” in Northern Virginia, all while regularly

communicating with each other, including over encrypted Signal chats. In the days leading up to

January 6, the defendants acknowledged that they were “done talking” (Rhodes); that their

preparations were not in service of a “Rally,” but instead to “make history” (Meggs); and that if

Congress sought to “certify some crud on capitol hill,” the “kettle [was] set to boil” (Caldwell).

       The defendants’ coordinated actions on January 6, moreover, provide compelling evidence

of their conspiratorial agreement. Unlike many other rioters on January 6, the defendants focused

on “sticking together and sticking to the plan.” Gov. Exh. 1500, 1502 (Watkins). As Rhodes stood

by on Capitol grounds, Meggs, Harrelson, Watkins and others formed into a stack formation (Stack

One), marched up east side of the Capitol building, breached the interior, split into two teams of

seven (one that marched toward the House, the other toward the Senate) and tried to force their

way past police officers. As that was occurring, Caldwell climbed up the outside of the Capitol

building and tried, ultimately unsuccessfully, to break into the building. Approximately thirty

minutes later, another group of co-conspirators, Stack Two, also surged into the building through




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the same doors as Stack One. Further evincing their close coordination, the co-conspirators—

including those who breached the building and those who had not—met together on Capitol

grounds within hours of Stack One and Stack Two breaching the building.

       Nor did the defendants’ unlawful agreement cease on January 6. Meggs and Caldwell

exultantly spoke of “reloading” or “storm[ing] another [C]apitol.” Supra 26. Between January 6

and the Inauguration on January 20, Rhodes did reload—to the tune of $17,000 in firearms and

tactical equipment—while also summoning other co-conspirators, including Joshua James (who

brought “all available firearms” to Texas). Id. Watkins suggested making preparations to wage

guerilla warfare against the government, while Caldwell wrote to an acquaintance over Facebook,

“Welcome to the fight.” Supra 27.

       All of this evidence from November 2020 through January 2021 not only establishes

beyond a reasonable doubt the existence of a conspiracy; it likewise proves the second element of

seditious conspiracy, namely, that the defendants and their co-conspirators agreed both to oppose

the authority of the government by force and to by force hinder, prevent, or delay the execution of

laws governing the transfer of presidential power. Testimony from Thomas Wickham established

the constitutional and federal statutory provisions requiring that the Vice President, as the

President of Senate, must in the presence of the Senate and House of Representatives open all the

certificates for presidential election sent by the Electors to Congress; that the Senate and House of

Representatives must meet for that purpose at 1 pm on January 6 following a presidential election;

and that the person with the greatest number of votes, after that person takes the required oath,

shall become president on January 20. Section 2384 “protects basic societal interests and must be

read to cover a wide spectrum of activities,” United States v. Rahman, 854 F. Supp. 254, 259

(S.D.N.Y. 1994), which surely encompasses the transfer of power from one presidential




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administration to another. Indeed, seeking to stop the presidential transfer of power strikes

“against the government as a government.” Baldwin, 120 U.S. at 693.

       The evidence recounted above demonstrates that the defendants’ conspiracy targeted

precisely these critical government functions. Rhodes repeatedly made clear his views that the

presidential election was fraudulent and the then-President-elect was a “ChiCom puppet.” And all

of the defendants, through words, actions, or both, indicated that they shared the same goal of—

as one testifying co-conspirator described it—“fight[ing] back against an illegitimate

government.” 10/18/22PM Tr. at 4099 (testimony of Jason Dolan). See Watkins (“[I]f Biden get

the steal, none of us have a chance in my mind. We already have our neck in the noose. They just

haven’t kicked the chair yet.”); Meggs (“It’s easy to chat here . The real question is who’s willing

to DIE , that’s what the Patriots did by the thousands . We are worried about getting the day off.”;

“We need to surround the Capitol all the way around with Patriots screaming so they hear us inside!

Scare the hell out of them with about a million surrounding them should do the trick !”); Harrelson

(storming inside the Capitol on January 6, 2021, with Jason Dolan and other co-conspirators while

chanting “Treason!”); Caldwell (“Ranger is thinking we should hold off on an op surrounding the

maga march and plan for the NEXT op which may be much larger and involve supporting the

President directly and taking ]our country back. That would be our last chance to save the country

and may be quite violent.”).

       The evidence also demonstrated that the defendants agreed to use force to carry out their

unlawful objectives. Most obviously, the defendants transported scores of firearms to the QRF

hotel in Virginia, ultimately amassing an arsenal so extensive that, in the experience of one former

Oath Keeper, it was rivaled only by military stockpiles. See 10/12/22AM Tr. at 2728. And at least

Rhodes continued to amass firearms after January 6, when he purchased over $17,000 in new




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weapons and related equipment before the Presidential Inauguration. The defendants extensively

discussed what kind of weapons, including those less lethal than firearms, they could and did bring

with them to the District of Columbia. Additionally, many of the defendants’ actions on January

6—aligning in stack formation, marching up the steps of the Capitol building and damaging

property as they forced their way inside, dividing up once inside, and pushing against police

lines—offered proof that the defendants intended to use, and did use, force in service of their

unlawful objectives.

        Nor was the defendants’ agreement either lawful or merely conditional because it

contemplated the President’s invocation of the Insurrection Act, 10 U.S.C. §§ 251 et seq. The

Insurrection Act allows the President to call into service “the militia of any state” and “the armed

forces” when the President “considers that unlawful obstructions, combinations, or assemblages,

or rebellion against the United States, make it impractical to enforce” federal law. 10 U.S.C. § 252.

Before invoking the Act, the President must “by proclamation, immediately order the insurgents

to disperse and retire peaceably to their abodes within a limited time.” § 254. Although evidence

concerning the Insurrection Act during the government’s case-in-chief was limited principally to

the defendants’ passing references to the Act, that evidence also included the undisputed fact that

the President never issued a proclamation for “insurgents” to disperse, let alone actually invoked

the Insurrection Act itself.

        Instead, the evidence concerning the Insurrection Act further confirmed the unlawful

nature of the defendants’ conspiracy. For one, as early as the GoToMeeting on November 9, 2020,

Rhodes referred to the Insurrection Act as supplying “legal cover” to justify the defendants’ plans

to use force to stop the transfer of presidential power. Gov. Exh. 1000.7. Rhodes echoed that

view—that he and others stood ready to use force to oppose the government whether or not the




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President invoked the Insurrection Act—both publicly and in encrypted Signal chats. See Gov.

Exh. 1.S.656.10102 (December 25, 2020 Signal chat: President “needs to know that if he fails to

act, then we will. He needs to understand that we will have no choice.”); Gov. Exh. 1.S.696.17710

(December 31, 2020 Signal chat: “Be prepared for a major let down on the 6-8th. And get ready

to do it OURSELVES.”). And all the defendants made abundantly clear on January 6 that their

conspiracy to use force was not predicated on a presidential invocation of the Insurrection Act.

Rhodes observed that the President was merely “complaining” with “no intent . . . to do anything,”

which required “patriots” to “tak[e] it into their own hands.” Gov. Exh. 1.S.159.1043. He then

called his co-conspirators to the Capitol and engaged in a phone conversation with Kelly Meggs.

Minutes later, Meggs led Stack One up to and inside the Capitol building. In short, the evidence

makes clear that the defendants’ conspiratorial agreement was in no way contingent on being called

into action under the Insurrection Act.

       But even if viewed as a contingent or conditional conspiracy, the defendants’ agreement to

use force to oppose the transfer of presidential power nonetheless subjects them to criminal

liability. Liability for a conspiracy based on a contingent agreement “should attach if the defendant

reasonably believed the conditions would obtain.” United States v. Palmer, 203 F.3d 55, 64 (1st

Cir. 2000). A “reasonable” belief means that conspiracy liability should not attach only “[i]f there

is virtually no chance that the condition would be fulfilled,” such that “there is virtually no

likelihood that the defendant presents any risk of actual dangerousness.”          United States v.

Dworken, 855 F.2d 12, 19 (1st Cir. 1988). For example, an agreement to “horsewhip Idi Amin if

he ever shows his face on Rush Street” in Chicago would not give rise to conspiracy liability

because the condition would be known “to be impossible of fulfillment when the agreement was

made,” such that the agreement “could not sensibly be understood as an agreement to do




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something; it would be a mere rhetorical flourish.” United States v. Podolsky, 798 F.2d 177, 179

(7th Cir. 1986). Here, the defendants agreed to oppose the transfer of power and were prepared to

deploy force as necessary. The evidence adduced in the government’s case-in-chief shows that

the conspiracy presented a risk of actual dangerousness: some co-conspirators had firearms ready

to deploy for a potential attack on the Capitol, while others forcibly entered the Capitol in a manner

that endangered the legislators meeting there and those assigned to protect them. This is sufficient.

Requiring that the contingencies envisioned in conspirators’ plans come about before criminal

liability attached would allow the government “no redress against preparation by force and arms

to resist” its authority until “it might well be too late.” Bryant, 257 F. at 386.

       Finally, the evidence establishes the third element, that each defendant joined the

agreement with awareness of one or both of the conspiracy’s unlawful objectives. Rhodes, the

identified leader of the Oath Keepers, articulated the conspiracy’s unlawful aims in both public

and private communications to the defendants, other co-conspirators, and other Oath Keepers

affiliates. Meggs and Watkins discussed plans and recruited co-conspirators in early November,

the same day they actively participated in the November 9 GoToMeeting call led by Rhodes.

Harrelson similarly assumed a more active leadership role in the Florida Oath Keepers chapter,

and he participated (along with Rhodes, Meggs, and Watkins) in many of the Signal chats,

including Signal leadership chats. On January 6, Meggs engaged in a phone conversation with

Rhodes; minutes later, Meggs led Stack One (which included Watkins and Harrelson) into the

Capitol building. And Caldwell joined Rhodes, Meggs, and Watkins on the dry run in November

2020 and played a leadership role for the QRF on January 6, including by planning potential access

to the District of Columbia by boat. The evidence sufficiently meets every element of Section

2384 for all five defendants.




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       B. Conspiracy and Substantive Obstruction of a Congressional Proceeding (18
          U.S.C. § 1512)

       Counts Two and Three charge all the defendants with conspiracy and substantive violations

of 18 U.S.C. § 1512(c)(2). Section 1512(c)(2) makes it a crime to corruptly obstruct or impede an

official proceeding, which includes the Certification of the Electoral College vote. See United

States v. Caldwell, 581 F. Supp. 3d 1, 11-15 (D.D.C. 2021). The same general conspiracy

principles described above apply here. See Joint Proposed Jury Instructions, at 19 (incorporating

conspiracy principles for Count Two). A violation of Section 1512(c)(2) requires proof that the

defendant (1) obstructed or impeded an official proceeding; (2) intended to obstruct or impede that

proceeding; (3) acted knowingly, with awareness that the natural and probable effect of the

defendant’s conduct would be to obstruct or impede the official proceeding; and (4) acted

corruptly. Id. at 20. The evidence establishes both conspiracy and substantive violations of

Section 1512(c)(2) for all defendants.

       As to the conspiracy violation, the evidence supporting the defendants’ agreement to use

force to oppose the authority of the government and hinder, prevent, or delay a federal law

similarly suffices to establishes that the defendants agreed to corruptly obstruct the January 6

Certification proceeding. Beginning no later than December 2020, as the defendants began making

logistical plans to come to the District of Columbia, they plotted the various means by which they

would achieve their criminal objective of stopping Congress’s certification of the Electoral College

vote on January 6, 2021.

       Each of the defendants is also guilty of substantive obstruction. Either through direct action

such as breaching the Capitol using physical force (Meggs, Watkins, and Harrelson) and its

grounds and barriers (Caldwell), or through either aiding and abetting liability or bearing

substantive criminal responsibility under Pinkerton v. United States, 328 U.S. 640, 647-648



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(1946), for such conduct (Rhodes), all defendants obstructed or impeded the certification

proceeding. Second, the defendants through either their statements or their actions (or both)

evinced the intent to stop the proceeding.       Third, evidence of the defendants’ conscious

participation in the attack on January 6 indicates that each acted knowingly and with the awareness

that the natural and probable consequences of their conduct would be, as it was, to obstruct the

Certification proceeding.

       Finally, each defendant acted corruptly. To prove that a defendant acted corruptly for

purposes of Section 1512(c)(2), the government must establish that the defendant acted either

“with a corrupt purpose” or through “independently corrupt means,” or both, see 575 F. Supp. 3d

16, 31 (D.D.C. 2021) (quoting United States v. North, 910 F.2d 843, 942-43 (D.C. Cir. 1990)

(Silberman, J., concurring in part and dissenting in part), withdrawn and superseded in part by

United States v. North, 920 F.2d 940 (D.C. Cir. 1990) (per curiam); see also Joint Proposed Jury

Instructions, at 21. The government must also prove that the defendant acted “with consciousness

of wrongdoing,” namely with “an understanding or awareness that what the person is doing is

wrong.” See United States v. Reffitt, No. 21-cr-32, ECF No. 119 at 26 (D.D.C. Mar. 7, 2022); see

Arthur Andersen, 544 U.S. at 706 (faulting jury instructions in Section 1512 case for “fail[ing] to

convey the requisite consciousness of wrongdoing”). As applied here, the evidence establishes

both corrupt means and corrupt purpose. As described in detail above, the defendants invaded the

restricted Capitol grounds, and, in the case of Meggs, Watkins, and Harrelson, further penetrated

the Capitol building by breaching (and damaging) the doors and pushing past police officers. As

noted above, although no evidence shows that Rhodes or Caldwell entered the Capitol building,

they aided and abetted those actions undertaken by the other defendants, and bear substantive

criminal liability for those actions under Pinkerton. And the defendants’ amassing of firearms and




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expressed intentions to use violence to further accomplish their obstructive aims further prove that

they acted with corrupt purpose.

       C. Conspiracy to Prevent Officers from Discharging Their Duties (18 U.S.C. § 372)

       Count Four charges the defendants with conspiracy to prevent Members of Congress by

force, intimidation, or threat from discharging the duties of an office, trust, or place of confidence

under the United States, and with conspiracy to induce Members of Congress by force,

intimidation, and threat to leave the place where their duties as officers were required to be

performed, in violation of 18 U.S.C. § 372. To prove a violation of Section 372, the government

must prove (1) a conspiracy, (2) that the defendants voluntarily joined the conspiracy, and (3) that

the conspirators agreed to prevent an officer of the United States from discharging his or her duties

“by force, intimidation or threat,” United States v. Beale, 620 F.3d 856, 864 (8th Cir. 2010), or to

leave the place where the officer’s duties are required to be performed; accord Joint Proposed

Jury Instructions, at 26.

       As with Count One (seditious conspiracy) and Count Two (conspiracy to obstruct an

official proceeding), the evidence demonstrating the defendants’ conspiratorial agreement and the

fact that they knowingly joined in the agreement consists of the many statements and actions

described in detail above. To recap in a sentence: the defendants agreed to take whatever steps

necessary, up to and including using force, to stop the transfer of presidential power following the

2020 election because they believed the election was rife with fraud, and they conspired together,

in person, over calls, and through Signal chats to halt that transfer. As relevant to Count Four, the

evidence adduced in the government’s case-in-chief included facts that defendants’ conduct (along

with the conduct of other rioters) on January 6 caused Members of Congress to evacuate the House

and Senate floors where they were in the process of certifying the Electoral College vote. In so




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doing, the defendants conspired to (and did) prevent the Members of Congress from discharging

their duties and induced them by force to leave their duty stations.

       D. Destruction of Government Property (18 U.S.C. § 1361)

       Count Five charges Meggs, Harrelson, and Watkins with felony destruction of government

property, in violation of 18 U.S.C. § 1361. To establish a felony violation of Section 1361, the

government must prove that the defendant injured, damaged, or destroyed property; that the

defendant did so willfully; that the property involved was property of the United States; and that

the damage or attempted damage to the property in question exceeded the sum of $1,000. Joint

Proposed Jury Instructions, at 27.

       The evidence established each element beyond a reasonable doubt. First, testimony and

video evidence established that Meggs, Watkins, and Harrelson were part of Stack One, which

merged with the violent crowd trying to breach the East Rotunda doors at approximately 2:39 p.m.

on January 6, 2021. See Gov. Exh. 1503. Working in tandem with the crowd—and therefore

aiding and abetting the other crowd members just as those crowd members were aiding and

abetting Meggs, Watkins, and Harrelson—those defendants (and others in Stack One) were able

to push open the doors and forcibly enter the Capitol. Id. That video evidence established both

the defendants’ destructive conduct and their willful state of mind. Third, testimony from an

employee of the Architect of the Capitol testified that the damage sustained by the sustained to the

East Rotunda Doors and the ornate Columbus Doors exceeded $24,000, well above the $1,000

threshold. See Gov. Exhs. 2122-2125; 10/26/22AM Tr. at 5462-76.

       E. Interfering with Law Enforcement During a Civil Disorder (18 U.S.C. § 231)

       Count Six charges Watkins with interfering with a law enforcement officer during a civil

disorder, in violation of 18 U.S.C. § 231(a)(3), a charge that she conceded in opening. 10/03/22PM




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Tr. at 1241. To establish a violation of Section 231, the government must prove that Watkins (1)

knowing committed an act with the intended purpose of interfering with a law enforcement officer;

(2) at the time of Watkins’s act, the officer in question was engaged in the lawful performance of

his or her official duties incident to and during a civil disorder; and (3) the civil disorder in any

way or degree obstructed, delayed, or adversely affected either commerce or the movement of any

article or commodity in commerce or the conduct or performance of any federally protected

function. See United States v. Webster, No. 21-cr-208 (APM), ECF No. 101 at 15-16 (D.D.C.

Aug. 2, 2022); see Joint Proposed Jury Instructions, at 30-31 (listing same elements, but breaking

them into four parts).

       The evidence readily established all the elements here. First, after Stack One had breached

the Capitol building, Watkins led six other co-conspirators down the hallway leading to the Senate

Chamber in an effort to force her way into the Chamber. Gov. Exhs. 1500, 1505; 10/20/22PM Tr.

at 4781-98. Along the way Watkins encountered MPD Officer Christopher Owens, who described

how the conduct of Watkins and other members of the mob interfered with his abilities to do his

job—which included trying keep rioters out of the Senate Chamber. 10/26/22AM Tr. at 5446-54.

Only by deploying chemical spray were Officer Owens and his fellow officers able to push the

rioters back and hold their line. Gov. Exhs. 1505; 10/26/22AM Tr. at 5446-54. That evidence

established the first two elements.

       Additional evidence proved that the civil disorder3 adversely affected both commerce and

a federally protected function. Commerce refers to both commerce or travel between one state,


3
  The term “civil disorder” means any public disturbance involving acts of violence by groups of
three or more persons, which (a) causes an immediate danger of injury to another individual, (b)
causes an immediate danger of damage to another individual’s property, (c) results in injury to
another individual, or (d) results in damage to another individual’s property. See 18 U.S.C.
§ 232(1). Ample evidence from trial showed that civil disorder was occurring at the relevant time
period on January 6, 2021, including testimony of USCP Captain Ronald Ortega and the video


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including the District of Columbia, and any other state, including the District of Columbia and

commerce wholly within the District of Columbia. Joint Proposed Jury Instructions, at 31; 18

U.S.C. § 232(2). Testimony from a district Safeway manager that Safeway closed its stores in the

District of Columbia because of the riot and the curfew imposed as a result of the riot established

the requisite effect on commerce. Gov. Exh. 3510.1; 10/31/22AM Tr. at 5667-70; see also Gov.

Exh. 3006 (stipulation addressing the curfew).

       The term “federally protected function” includes any function, operation, or action carried

out, under the laws of the United States, by any department or agency. See 18 U.S.C. § 232(3).

One such federally protected function is the United States Secret Service’s statutory obligation to

protect certain individuals, including the Vice President. See 18 U.S.C. § 3056(a)(1). Because the

civil disorder on January 6 required the Secret Service to move the Vice President to a secure

location, see Gov. Exh. 9053; 10/26/22AM Tr. at 5411-16 (testimony of Secret Service Inspector

Hawa), the disorder in some “way or degree obstruct[ed], delay[ed], or adversely affect[ed]” that

protective function.

       F. Evidence Tampering (18 U.S.C. § 1512(c)(1))

       Counts Seven, Eight, Nine, and Thirteen4 charge Rhodes, Meggs, Harrelson, and Caldwell

with evidence tampering, in violation of 18 U.S.C. § 1512(c)(1). A violation of Section 1512(c)(1)

occurs where the defendant (1) altered, destroyed, mutilated, or concealed a record, document, or

other object; (2) acted knowingly; (3) acted corruptly; (4) acted with the intent to impair the

object’s integrity or availability for use in an official proceeding. United States v. Robertson, No.




introduced during his testimony. Gov. Exh. 1515; 10/18/22AM Tr. at 3920-46; 10/18/22PM Tr. at
3998-4061.
4
  Pursuant to the parties request at the conference on October 26, 2022, Count Thirteen in the
Indictment will be “Count Ten” for the purposes of the jury instructions and verdict form.


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21-cr-34 (CRC), ECF No. 86 at 26 (D.D.C. Apr. 8, 2022); accord Joint Proposed Jury Instructions,

at 34-35. The parties agree that the official proceeding for purposes of these Counts is the grand

jury investigation into the role of Stewart Rhodes, Kelly Meggs, Kenneth Harrelson, Jessica

Watkins, Thomas Caldwell, and others in the attack on the United States Capitol on January 6,

2021. While the defendant must act with intent to obstruct the official proceeding, this need not

be the defendant’s sole purpose—a defendant’s unlawful intent to obstruct justice is not negated

by the simultaneous presence of another purpose for the defendant’s conduct. Cf. Joint Proposed

Jury Instructions, at 21.

       The evidence at trial established violations of each of these counts. Through Special Agent

Moore, the government presented numerous messages from Rhodes to various co-conspirators that

he relayed through Kellye SoRelle after his and his co-conspirators’ actions on January 6, 2021,

see supra at pg. 30-31, including messages to “DELETE your self-incriminating comments or

those that can incriminate others.” Gov. Exh. 9061 (Msg. 54.S.125.2878). And co-conspirators,

in fact, followed Rhodes’s instructions on the same day. Joshua James sent a screenshot of

Rhodes’s message to another co-conspirator who had breached the Capitol, adding: “We need to

make sure that all signal comms about the op has been deleted and burned.” Gov. Exh. 9066

(Msgs. 111.S.12, 111.S.1413-A and B). Grods then confirmed that he deleted the messages. Id.

(Msg. 111.S.12, 111.S.1413-E). Likewise, the evidence established Counts Eight and Nine,

against Meggs and Harrelson, respectively. See supra at pg. 31. On February 4, 2021, Harrelson

and Meggs messaged one another about “clear[ing] out the messages in our chats,” and later

confirmed that they had, in fact, done so. Id.; Gov. Exh. 9086 (Msg. 7.S.34.21). Harrelson made

it clear to Meggs why they should engage in such obstruction: “I don’t want the boys to have

anything to look at,” clearly referring to any future investigations into their criminal conduct. Id.;




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Gov. Exh. 9086 (Msg. 7.S.34.24). And Special Agent Moore testified that, upon their arrest, law

enforcement did not find Signal content during the time of the conspiracy on either Meggs’ or

Harrelson’s phones. Id. Finally, the evidence through the Facebook custodian clearly established

that Caldwell deleted over 175 messages on his Facebook account, including messages he had sent

to co-conspirators like Donovan Crowl in which he discussed their actions on January 6, 2021.

See supra at pgs. 31-32; see also 11/01/22PM Tr. at 6197; Gov. Exhs. 1051.1, 1105, 6734 (Msg.

2002.T.85E), 9079 (Msgs. 22.F.1.30-33).

   III.      Conclusion

          The Court should deny each defendant’s motion for judgment of acquittal under Rule 29.



                                      Respectfully submitted,

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